                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )      NO. 3:12-00076
                                                     )      JUDGE CAMPBELL
ALLEN ROY WALKER, et al.                             )

                                             ORDER

         Pending before the Court is Defendant Charles Eugene Powell’s Motion to Continue Status

Conference (Docket No. 104). The Motion is GRANTED.

         The status conference scheduled for July 18, 2012, at 10:00 a.m. is RESCHEDULED for July

18, 2012, at 2:00 p.m.

         It is so ORDERED.



                                                     _________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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